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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                    CR 1:15-058

COURNEY MICHELLE GARNETT




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Danny L. Durham, having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Danny L. Durham be granted leave of

absence for the following period: July 29, 2015 through August 5, 2015.

      This <^<3 "day ofJune, 2015.




                                        HONORABLE J. RANDAL HALL
                                        JJnitedJftates District Judge
                                         Southern District of Georgia
